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  9                   UNITED STATES DISTRICT COURT
            CENTRAL DISTRICT OF CALIFORNIA, SOUTHERN DIVISION
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 11
      BRUCE FELT,                                Case No. 8:17-CV-02166-AG-JDE
 12
                 Plaintiff,                      JOINT STIPULATION
 13
                                                 REQUESTING A
 14        vs.                                   CONTINUANCE OF THE
                                                 SUMMARY JUDGMENT
 15
    TEN-X, LLC, fka AUCTION.COM,                 SCHEDULE
 16 LLC,
                                                 Judge: Hon. Andrew Guilford
 17
                 Defendant.                      Crtrm.: 10D
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                                             -1-                Case No. 8:17-CV-02166-AG-JDE
            JOINT STIPULATION REQUESTING EXTENSION OF SUMMARY JUDGMENT SCHEDULE
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  1         PLEASE TAKE NOTICE that Plaintiff Bruce Felt (“Plaintiff”) and
  2 Defendant Ten-X, LLC (the “Company”) submit this Joint Stipulation requesting an
  3 order amending the Court’s Scheduling Order to continue by estimated twenty-one
  4 days the summary judgment or summary adjudication (“summary judgment”)
  5 schedule.
  6         Good cause exists for the relief sought:
  7         1.    This is the first request for an extension of the summary judgment
  8 schedule.
  9         2.    The parties are on track to complete fact discovery by April 3, 2019.
 10         3.    The parties have agreed to pursue mediation with the goal of pursuing a
 11 mutual and global settlement of this case. On March 8, 2019, the parties and their
 12 respective attorneys had an in-person meeting and agreed to hire Mediator Jill
 13 Sperber at Judicate West. Ms. Sperber’s availability, after cross-referencing the
 14 parties’ schedules, is March 19, 2019.
 15         4.    Under the Court’s Scheduling Order, motions for summary judgment
 16 must be filed by March 25, 2019. In order for the parties to focus their efforts on the
 17 mediation and to avoid potentially unnecessary preparing of summary judgment
 18 motions, the parties jointly request this continuance. Therefore, the parties jointly
 19 request a 14-day extension of time to file, brief and schedule the hearing on motions
 20 for summary judgment.
 21         5.    No other deadlines under the Scheduling Order, including the trial date,
 22 would be affected by this request.
 23         6. If this request is approved, the new summary judgment schedule would be:
 24                                      Current Schedule      Requested Schedule
 25          Motion Filing Date           March 25, 2019          April 8, 2019
 26          Motion Opposition Date         April 1, 2019         April 15, 2019
 27          Motion Reply Date              April 8, 2019         April 22, 2019
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             JOINT STIPULATION REQUESTING EXTENSION OF SUMMARY JUDGMENT SCHEDULE
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  1          Motion Hearing Date           April 22, 2019          May 6, 2019
  2
  3         7.    The parties have agreed to use the additional time productively to
  4 discuss settlement, mediation, summary judgment issues and pre-trial events.
  5         This stipulation is made pursuant to Local Rule of Court 7-1.
  6         IT IS SO STIPULATED.
  7 DATED: March 11, 2019                 LAW OFFICE OF RICHARD A. GRIMM
  8                                       By: /s/ Steve Oster
  9                                           RICHARD A. GRIMM
                                              STEVE OSTER
 10                                       Attorney for BRUCE FELT
 11
      DATED: March 11, 2019               REIF LAW GROUP, P.C.
 12
                                          By: /s/ Brandon S. Reif
 13
                                              BRANDON S. REIF
 14                                       Attorneys for TEN-X. LLC
 15
      DATED: March 11, 2019               MUNGER, TOLLES & OLSON LLP
 16
                                          By: /s/ Carolyn H. Luedtke
 17
                                              CAROLYN H. LUEDTKE
 18                                       Attorneys for TEN-X. LLC
 19
    Pursuant to Local Civil Rule 5-4.3.4(a)(2)(i), the filing attorney certifies that all
 20 other signatories listed, and on whose behalf this filing is submitted, concur in this
 21 filing’s content and have authorized its filing.
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             JOINT STIPULATION REQUESTING EXTENSION OF SUMMARY JUDGMENT SCHEDULE
